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A0 235B (Rev 12/03) Sheet 2 - in~prisonn~ent
Defendant:     HENRY CALEB BETANCOURT-FORBES                                                      Judgment - Page 2 of 6
                                                                                                                       --
Case No.:      8:OPcr-474-T-30EAJ



      After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C.
$$ 3553(a)(l)-(7),the court finds that the sentence imposed is sufficient, hut not greater than necessary! to comply with
the statutory purposes of sentencing.


       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned !'or a total term of FORTY-TWO (42) MONTHS as to Count One of the Indictment.


-
X The court makes the following reconmendations to the Bureau of Prisons: The defendant shall be placed at FCI Ft. Dix
(New Jersey), if possible.



X The defendant is remandcd to the custody of rhs United States hlarchal.
-The defendant shall surrender to the United States Marshal for this district.

         -at - a.m.1p.m. on -.
         -as notified by the United Stares Marshal.
-The delkndant shall surrender for service of sentence at the institution designared by the Bureau of Prisons.
         -bcfore 2 p.m. on -.
         -as notified by the United States Marshal.
             as notified by the Probation or Pretrial Services Office.



                                                                    RETURN

         I have executed this judgment as follows:




         Defendant delivered on                                                   to                                        at

                                                                         . with a certified copy of this judgment.


                                                                                         United States Marshal



                                                                     Deputy Marshal
          Case 8:04-cr-00474-JSM-E_J Document 97 Filed 04/28/05 Page 3 of 6 PageID 246
A 0 2458 (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:            HENRY CALEB BETANCOURT-FORBES                                                                Judgment - Page jof 6
Case No.:             8:04-cr474-T-3OEAJ
                                                           SUPERVISED RELEASE

       Upon release from imprisonment, t h e defendant shall be on supervised release for a term of THREE (3) YEARS as to
Count O n e of the Indictment.

        The defendant shall report to the probation office in rhe district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not coniinit another federal, state, or locnl crime.
The defendnnt shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two pcriodic drug tests
thereafter, as determined by the coun.

-
X The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
  substance abuse. However, the Court authorizes the probation officer to conduct random drug testing not to exceed 104 tests
          per year.

X         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)



            If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
            the Schedule of Payments sheet of this judgment.

            The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
            conditions on the attached pagc.
                                              STAhmARD CONDITIONS OF SUPERVISION
            thc dcfendant shall not leave the judicial district without thc permission of the coun or probation officer:
            the defendant shall report to the probation officer and shall submit a truthful and coniplete written report within the first five days of each
            month:
            the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of h e probation officer:
            the defendant shall support his or her dependents and meet other family responsibilities:
            the dcfcndanr shall work regularly at a lanrfuloccupation. unlcss excused by the probation officer for schooling, training. or other
            acceptable reasons:
            the defendant shall noti@the probation officer at least ten days prior to any change in residence or employment;
            the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
            substance or any paraphernalia related to any controlled substances, evcept as prescribed b) a physician:

            the defendant shall not frequent places where controlled substances are illegally sold, used. distributed, or administered:
            the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation oficer:
            the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall perniit confiscation of an)
            contraband obsened in plain view of the probation ofticec
            the defendant shall notify the probation officcr within scvent).-twohours of being arrested or questioned by a law enforcement officer:
            the defendant shall not enter into any agreement to act as an informer or a special agent of a law enli)rcementagency u ithout the
            permission ofthe court;
           as directed by the probation officer. the defendant shall not~f)t h ~ r dparties ofrisks that ma) b r occasioned b> the defendant'\ crim~nalrecord
           or personal histoy or characteristics and shall permit the prohation officer to m k e such notilicatrons and to confirm the de1tndant.s
           compliance \$ ith such not~ficationrequirement
         Case 8:04-cr-00474-JSM-E_J Document 97 Filed 04/28/05 Page 4 of 6 PageID 247
A 0 2498 (Rev. 12/03) Sheer 3C - S u p e n i d Release

Defendant:            HENRY CALEB BETANCOURT-FORBES                                                     Judgment - Page 4 of 6
Case No.:             8:Wcr474-T-30EAJ
                                                SPECIAL COiWITIONS OF SUPERVISION

           The defendant shall also con~plywirh the following additional conditions of supervised rcleasc:


-
X          If the defendant be deported, hetshe shall not be allowed to re-enter the United States without the express permission of h e
           appropriate governmental authority.
         Case 8:04-cr-00474-JSM-E_J Document 97 Filed 04/28/05 Page 5 of 6 PageID 248
 A 0 245B (Rev 12103) Sheet 5 - Crimml Monetary Penalties

 Defendant:           HENRY CALEB BETANCOURT-FORBES                                                    Judgment - Page 5 of 6
 Case No.:            8:01-cr-474-T-30EAJ

                                               CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of' payments on Sheet 6.
                                ~issessmcnt                       -
                                                                  Fine                         Total Restitution

           Totals:              $100.00                           Waived                       N/A


 -         The detemlination of restitution is deferred until .            An Amended J~rcigmenrin n Cn'mi~?al
                                                                                                             Case ( A 0 245C) will
           be entered after such determination.
 -         The defendant must make restitution (including comn~uniryrestitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payez shall receive an approximately proportioned payment. unless
           specified othenvise in the priority order or ercentage aymenr column below. However. pursuant to 18 U.S.C. 5
                                                            f         k
           3664(i), all nonfederal victims nus st be pai before h e nited States.
                                                                                                               Priority Order or
                                                      *Total                  Amount of                        Percentage of
 Name of Piavee                                     Amount of LOSS         Restitution Ortlercd                Pavrnent




                               Totals:              L                      S

 -         Resritution amount ordered pursuant to plea ageemem S
 -         The defendant shall ay interest on any fine or restitution of more than $2.500, unless the restitution or fine is paid in full
           before the fifteenth  AY
                                  afall the dare of the judgment, pursuant to 18 U.S.C. 5 3612(D. All ofthe payment options on Sheet
           6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 8 36 12(g).
 -         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          -          the interest requirement is waived for the - fine          restitution.
          -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A. and 113A of Title 18 for the offenses commitred
on or after September 13, 1994, but before April 23. 1996.
      Case 8:04-cr-00474-JSM-E_J Document 97 Filed 04/28/05 Page 6 of 6 PageID 249
A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments
Defendant:        HENRY CALEB BETANCOURT-FORBES                                             Judgment - Page 6of 6
Case No.:         894-cr-474-T-30EAJ


                                                  SCHEDULE OF PAYhlENTS



Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follows:

A.       -
         X Lump sum payment of $ 100.00 due inmlediately, balance due
                            -not later than                    , Or

                            -in accordance - C, - D, - E or - F below: or
B.       -        Payment to begin immediately (may be combined with -C, -D, or -F below): or
C.       -        Payment in equal                 (e.g.. weekly, monthly. quarterly) installments of S             over a
                  period of          (e.g., months or years), to commence              days (e.g.. 30 or 60 days) after the
                  date of this judgment; or
D.       -        Payment in equal               (e.g., weekly, monthly, quarterly) installments of S               over a
                  period of
                                (e.g., months or years) to con~n~ence                   (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision: or
E.       -        Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) afier release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time. or
F.       -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise. if this judument i~nposesa period of im risonment, payment of criminal
monetar penalties is due during in1 risonment. All criminal monetary penalties. except t ose a rnents made through the
         3                              F
Federal ureau of Prisons' inmate inancial Responsibility Program, are made to the clerk o e court.        !d
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and
Several Amount. and corresponding payee. if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States inlnlediately and voluntaril an and all assets and property,
                                                                                                    d
                                                                                                    lY
or portions thereof, subject to forfeiture, which are in the possession or control of t e efendant or the defendant's
nominees.



Payments shall be applied in h e following order: (1) assessment, (2) restitution principal, (3) restitution inlerest. (4) fine principal,
( 5 ) communiry restitution, ( 6 ) fine interest (7) penalties, and (8) costs, including cost of prosecurion and court costs.
